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Briefs and Other Related Documents

Lombard v. New Orleans Naval Support
ActivityE.D.La.,2004.Only the Westlaw citation is
currently available.

United States District Court,E.D. Louisiana.
Carla LOMBARD, Individually and on behalf of
the estate of Antonio Jesus Lombard
v.

NEW ORLEANS NAVAL SUPPORT ACTIVITY
COMMISSION, et al
Tony A. LOMBARD, Individually and as the
Administrator of the estate of Antonio Jesus
Lombard
Vv.

GOODWORKS, INC., et al
No. Civ.A.03-3020, Civ.A.04-2296.

Dec. 10, 2004.

Leo Joseph Palazzo, David D. Bravo, Palazzo Law
Firm, Gretna, LA, Ford Thomas Hardy, Jr., Ford
Thomas Hardy, Jr., Attorney at Law, Gerald A.
Melchiode, Timothy William Hassinger, New
Orleans, LA, for Plaintiffs.

Sharon Denise Smith, Timothy William Hassinger,
Galloway, Johnson, Tompkins, Burr & Smith, New
Orleans, LA, Eric Lopez Schnabel, Klett Rooney
Lieber & Schorling, Philadelphia, PA, J. Geoffrey
Ormsby, Galloway, Johnson, Tompkins, Burr &
Smith, New Orleans, LA, Thomas Landers Watson,
Constantine D. Georges, New Orleans, LA, for
Defendants.

ORDER AND REASONS
AFRICK, J.
*1 Consolidated with

Before the Court is a motion filed on behalf of
third-party defendant, the United States of America,
to dismiss the third-party complaints filed against it
by third-party plaintiffs, Goodworks, Inc. and
Transcontinental Insurance Company (collectively “

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Goodworks”), in the above-captioned consolidated
actions.“N' Goodworks opposes the motion. After
consideration of the motion, the legal memoranda
submitted by the parties, the pleadings, and the law,
for the reasons assigned, the United States' motion
is GRANTED.

FN1. Rec. Doc. No. 36.
BACKGROUND

This case arises out of the death of Antonio J.
Lombard, who was killed when a forklift that he
was operating rolled over and crushed him. On
October 16, 2003, plaintiff, Carla Lombard, the
decedent's mother, filed a lawsuit in state court
against, infer alia, the Defense Commissary Agency
(“DeCa”) and two DeCa employees for negligence
in connection with the alleged accident."N? On
October 27, 2003, the United States removed the
action.’N? Thereafter, the United States was
substituted as the proper defendant for both DeCa
and the individual employees pursuant to the
Federal Tort Claims Act, 28 U.S.C. § 2671, et. seq. (
“FTCA”), and the claims against the United States
were dismissed without prejudice because plaintiff
had failed to exhaust her administrative remedies. ‘4
On February 26, 2004, plaintiff filed an
amended complaint adding Goodworks as a
defendant and alleging that Goodworks' negligence
caused or contributed to the decedent's death.’N>
On June 7, 2004, Goodworks filed a third-party
complaint against the United States alleging that the
United States was liable for causing and/or failing
to prevent the alleged accident which caused the
decedent's death and asserting claims against the
United States for contribution and indemnity."N°

FN2. Carla Lombard v. New Orleans
Naval Support Commissary, 03-CV-3020
(E.D.La.)(hereinafter Carla Lombard _ ),
Rec. Doc. No. 1. The Defense Commissary

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Agency was incorrectly named in
plaintiff's state court lawsuit as the New
Orleans Naval Support Activity
Commissary.

FN3. id.
FN4. /d., Rec. Doc. No. 4.

FNS. /d., Rec. Doc. No. 6, plaintiff's first
supplemental and amending complaint (“
Carla Lombard Comp.”) { 2.

FN6. /d., Rec. Doc. No. 15.

On October 16, 2003, plaintiff, Tony A. Lombard,
the alleged administrator of the estate of his minor
child, Antonio J. Lombard, filed a lawsuit in state
court against, inter alia, Goodworks alleging a
negligence cause of action in connection with the
alleged forklift accident.“N’? On February 2, 2004,
while the action was pending in state court,
Goodworks answered Tony Lombard's petition and
made a third-party demand against the United States

for contribution and indemnity.*N® Subsequently,
Goodworks filed an amended third-party demand
alleging third-party claims for contribution and
indemnity against the two DeCa_ employees
originally named defendants in Carla Lombard's
lawsuit./N? On August 11, 2004, the United States
removed Tony Lombard's action pursuant to 28
U.S.C. §§ 1441 and 1442(a),FN'°

FN7. Tony A. Lombard v. Goodworks,
Inc, et al, 04-CV-2296_ (E.D.La.)
(hereinafter Tony Lombard ), Rec. Doc.
No. |, plaintiff's state court petition, ¥ II.

FN8. See Carla Lombard, Rec. Doc. No.
25, notice of compliance filed by the
United States and attached Tony Lombard
state court pleadings, answer and
third-party demand filed by Goodworks.

FN9. See id, first supplemental and
amending third-party demand (collectively
with the third-party complaint filed in the
Carla Lombard action, ‘“Goodworks'

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Third-Party Complaint’).
FN10. Tony Lombard, Rec. Doc. No. 1.

On August 23, 2004, this Court entered an order
consolidating these two cases. FN'! On August 24,
2004, the third-party claims against the DeCa
employees alleged in the Tony Lombard action
were dismissed and the United States was

substituted as the only proper third-party defendant.
FNI2

FN11. Carla Lombard, Rec. Doc. No. 20.

FN12. Carla Lombard, Rec. Doc. No. 23.
In addition, both plaintiffs filed products
liability claims against Clark Material
Handling Company (“Clark”). See id,
Rec. Doc. No. 1, plaintiffs petition, J IX;
Tony Lombard, Rec. Doc. No. |, plaintiff's
petition for damages (“Tony Lombard Pet.”
) | Ul All of the claims against Clark
were stayed based upon the bankruptcy
petition filed by Clark. Carla Lombard,
Rec. Doc. Nos. 7 & 27.

On July 30, 2004, plaintiff, Carla Lombard, filed a
motion to remand her lawsuit to state court. On
September 30, 2004, plaintiff, Tony Lombard, also
filed a motion to remand his lawsuit to state court.
On October 15,2004, upon motion of counsel, this
Court held a status conference in which Goodworks
clarified that its third-party claims against the
United States in both actions were based upon tort
indemnity pursuant to Louisiana law, the United
States advised the Court that it intended to file a
motion to dismiss the third-party complaints filed in
these consolidated actions, and the parties agreed
that should the United States be dismissed, these
consolidated actions should be remanded to state
court.FN13

FN13. Rec. Doc. No. 35.
*2 On October 27, 2004, the United States filed this

motion pursuant to Fed.R.Civ.P. 12(b)(1) to dismiss
the third-party complaints filed against it by

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Goodworks for lack of subject matter jurisdiction.
The United States argues that Goodworks' claims
for contribution and indemnity cannot be sustained
pursuant to Louisiana law and, therefore, such
claims do not fall within the waiver of sovereign
immunity contained in the FTCA. 28 U.S.C. § 2674
. The United States argues that pursuant to Dumas
v. State Dept. of Culture Recreation & Tourism,
828 So.2d 530 (La.2002) and the 1996 revisions to
the Louisiana Civil Code articles 2323 and 2324(B)
, Louisiana has abolished the right of contribution
between non-intentional tortfeasors. Therefore, it
asserts that Goodworks' claim for contribution does
not fall within the waiver of sovereign immunity
contained in the FTCA. Additionally, the United
States argues that because Louisiana has now
moved to a pure comparative fault system,
Goodworks cannot sustain a claim for tort
indemnity because it cannot be held responsible for
the fault of the United States.

Goodworks admits that it cannot sustain a claim for
contribution after Dumas. However, Goodworks
argues that its claim for tort indemnity is permitted
by Louisiana law. Specifically, Goodworks claims
that its alleged liability for plaintiffs’ decedent's
death, if any, was only brought about by the actions
of the United States. Goodworks maintains that its
fault, if any, was purely passive in that in its
capacity as a federal contractor and agent of the
United States, it was only following the directions
of the United States with respect to the use of the
forklift that allegedly caused the decedent's death.
Based upon this “passive” fault, Goodworks
maintains that it has stated a viable claim for tort
indemnity.

LAW AND ANALYSIS

1. The United States' Motion to Dismiss for Lack of
Subject Matter Jurisdiction

A motion to dismiss for lack of subject matter
jurisdiction should be granted “only if it appears
certain that the plaintiff cannot prove any set of
facts in support of his claim that would entitle
plaintiff to relief.” Ramming v. United States, 281

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F.3d 158, 161 (5' Cir.2001). In order to assess
whether subject matter jurisdiction exists, this Court
may look to the complaint and the undisputed facts
in the record, See id. When analyzing the complaint,
this Court will take the allegations in the complaint
as true. Sawar Partnership v. United States, 67 F.3d
567, 569 (5'" Cir.1995). A dismissal for lack of
subject matter jurisdiction or for failure to state a
claim upon which relief may be granted is proper “
only if it appears certain, taking all facts as true and
resolving all inferences and doubts in plaintiff's
favor, that plaintiffs claim would not entitle him to
relief.” Jn re Supreme Beef Processors, Inc., ---
F.3d ----, 2004 WL 2601123, *2 (Sth Cir.2004)
(citing Benton v. United States, 960 F.2d 19, 21
(5th Cir.1992)),

*3 “It is elementary that the United States, as
sovereign, is immune from suits save as it consents
to be sued ... and the terms of its consent to be sued
in any court define that court's jurisdiction to
entertain the suit.” United States v. Mitchell, 445
U.S. 535, 538, 100 S.Ct. 1349, 1351, 63 L.Ed.2d
607 (1980); Linkous v. United States, 142 F.3d 271,
275 (Sth Cir.1998); Broussard v. United States, 989
F.2d 171, 174 (Sth Cir.1993). The FTCA
constitutes a limited waiver of sovereign immunity
and courts must strictly construe all waivers of the
federal government's sovereign immunity resolving
all ambiguities in favor of the sovereign. See Leleux
v. United States, 178 F.3d 750, 754 (Sth Cir.1999)
(citiations omitted); Linkous, 142 F.3d at 275
(citing United States v. Nordic Village, Inc., 503
US. 30, 33, 112 S.Ct. 1011, 1014, 117 L.Ed.2d 181
(1992)).

Pursuant to the FTCA, “{t]he United States shall be
liable, respecting the provisions of this title relating
to tort claims, in the same manner and to the same
extent as a_ private individual under _ like
circumstances, but shall not be liable for interest
prior to judgment or for punitive damages.” 28
U.S.C. § 2674 (emphasis supplied). Similarly,
pursuant to 28 U.S.C. § 1346(b), the federal district
courts have exclusive jurisdiction over claims
against the United States for injury or loss of
property, or personal injury or death caused by the
negligent or wrongful act of a government
employee “under circumstances where the United

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States, if a private person, would be liable to the
claimant in accordance with the law of the place
where the act or omission occurred.” 28 U.S.C. §
1346(b). The purpose of the FTCA is to
compensate victims of governmental negligence “in
circumstances like those in which a private person
would be compensated for private person
negligence.” Sant v. United States, 896 F.Supp.
639, 640-41 (W.D.La.1995). According to the
United States, if Goodworks cannot sustain a claim
for contribution or tort indemnity against a private
individual in the circumstances presented in this
case pursuant to Louisiana law, the claims do not
fall within the limited waiver of sovereign immunity
contained in section 2674 and this Court lacks
subject matter jurisdiction over such claims.

The United States Supreme Court has stated that *
the absence of a valid (as opposed to arguable)
cause of action does not implicate subject-matter
jurisdiction, fe, the courts’ statutory — or
constitutional power to adjudicate the case.” Steel
Co. v. Citizens for a Better Environment, 523 U.S.
83, 89, 118 S.Ct. 1003, 1010, 140 L.Ed.2d 210
(1998). Ordinarily, jurisdiction is not defeated by
the possibility that the allegations in a pleading fail
to state a claim upon which a party could actually
recover. See id. The Fifth Circuit has held that “
[w]here the defendant's challenge to the court's
jurisdiction is also a challenge to the existence of a
federal cause of action, the proper course of action
for the district court (assuming that the plaintiffs
federal claim is not immaterial and made solely for
the purpose of obtaining federa! jurisdiction and is
not insubstantial and frivolous) is to find that
jurisdiction exists and deal with the objection as a
direct attack on the merits of the plaintiffs case.”
Williamson v. Tucker, 645 F.2d 404, 415 (Sth
Cir.1981).FN'4° When a Rule 12(b)(1) motion
constitutes an indirect attack on the merits of a
claim, judicial economy is best promoted when a
court reaches the question of whether a valid claim
exists and, where no valid claim exists, the court
dismisses that claim on the merits. See Williamson,
645 F.2d at 415. When a defendant is challenging
the merits of a cause of action within a motion to
dismiss for lack of subject matter jurisdiction, a
court should analyze the motion to dismiss as it
would a motion to dismiss brought pursuant to Rule

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12(b)(6). See id.

FN14. Ordinarily, a court's dismissal for
lack of subject matter jurisdiction is not a
decision on the merits and it does not
prevent the plaintiff from pursuing the
clam in a court that has proper
jurisdiction. Santee v. AGIP Petroleum,
45 F.Supp.2d 558, 565 (S.D.Tex.1999)
(citing Hitt v. Pasadena, 561 F.2d 606,
608 (5th Cir.1977)).

*4 In the particular context of the FTCA, 28 U.S.C.
§§ 1346(b) and 2674, the inquiry with respect to a
federal court's jurisdiction based upon the United
States' limited waiver of sovereign immunity and
the question of whether a party states a valid claim
pursuant to state law collapse into one inquiry.
However, the substance of the United States' motion
directly attacks the merits of Goodworks' claims for
contribution and indemnity. Moreover, the United
States seeks a dismissal of the third-party complaint
with prejudice. In light of the fact that the federal
district courts have exclusive jurisdiction over any
claim against the United States brought pursuant to
the FTCA, 28 U.S.C. § 1346(b), this Court
concludes that it has subject matter jurisdiction to
decide the United States' motion and that the United
States’ motion should be analyzed as a motion to
dismiss for failure to state a claim upon which relief
may be granted. Fed.R.Civ.P. 12(b)(6).

A district court cannot dismiss a complaint, or any
part of it, for failure to state a claim upon which
relief can be granted “unless it appears beyond
doubt that the plaintiff can prove no set of facts in
support of his claim which would entitle him to
relief.” Conley v. Gibson, 355 U.S. 41, 45-46, 78
S.Ct. 99, 102, 2 L.Ed.2d 80 (1957); Blackburn vy.
City of Marshall, 42 F.3d 925, 931 (Sth Cir.1995).
This Court will not look beyond the factual
allegations in the pleadings to determine whether
relief should be granted. See Spivey v. Robertson,
197 F.3d 772, 774 (Sth Cir.1999); Baker v. Putnal,
75 F.3d 190, 196 (Sth Cir.1996). In assessing the
complaint, a court must accept all well-pleaded
facts in the complaint as true and liberally construe
all factual allegations in the light most favorable to

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the plaintiff. Spivey, 197 F.3d at 774, Lowry v.
Texas A & M University System, 117 F.3d 242, 247
(5th Cir.1997). “However, ‘[iJn order to avoid
dismissal for failure to state a claim, a plaintiff must
plead specific facts, not mere conclusory allegations.
..? Guidry v. Bank of LaPlace, 954 F.2d 278, 28!
(5 Cir.1992)(quoting Elliott v. Foufas, 867 F.2d
877, 881 (5" Cir.1989)) (alteration in original). “ ‘
[C]onclusory allegations and unwarranted
deductions of fact are not admitted as true’ by a
motion to dismiss.” /d. (quoting Associated
Builders, Inc. v. Alabama Power Co., 505 F.2d 97,
100 (5 "  Cir.1994)). Moreover, “ ‘legal
conclusions masquerading as factual conclusions
will not suffice to prevent a motion to dismiss.” °
Blackburn, 42 F3d at 931 (quoting
Fernandez-Montes vy. Allied Pilots Ass'n, 987 F.2d
278, 284 (5" Cir.1993)). “[T]he complaint must
contain either direct allegations on every material
point necessary to sustain a recovery ... or contain
allegations from which an inference fairly may be
drawn that evidence on these material points will be
introduced at trial.” Campbell v. City of San
Antonio, 43 F.3d 973, 975 (5 Cir.1995)(internal
quotation and citation omitted).

il. Comparative Fault in Louisiana

*5 In 1996, the Louisiana Legislature amended
articles 2323 and 2324(B) of the Louisiana Civil
Code “to abolish  solidary liability among
non-intentional tortfeasors and to place Louisiana in
a pure comparative fault system.” Dumas, 828
So.2d at 535.°N5 Article 2323 “requires that the
fault of every person responsible for a plaintiff's
injuries be compared, whether or not they are
parties, regardless of the legal theory of liability
asserted against each person.” /d at 537. The
Louisiana Supreme Court further explained:

FN15. Article 2323 of the Louisiana Civil
Code provides:

A. In any action for damages where a
person suffers injury, death, or loss, the
degree or percentage of fault of all persons
causing or contributing to the injury, death,
or loss shall be determined, regardless of

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whether the person is a party to the action
or a nonparty, and regardless of the
person's insolvency, ability to pay,
immunity by statute, including but not
limited to the provisions of R.S. 23:1032,
or that the other person's identity is not
known or reasonably ascertainable. If a
person suffers injury, death, or loss as the
result partly of his own negligence and
partly as a result of the fault of another
person or persons, the amount of damages
recoverable shall be reduced in proportion
to the degree or percentage of negligence
attributable to the person suffering the
injury, death, or loss.

B. The provisions of Paragraph A_ shall
apply to any claim for recovery of
damages for injury, death, or loss asserted
under any law or legal doctrine or theory
of liability, regardless of the basis of
liability.

C. Notwithstanding the provisions of
Paragraphs A and B, if a person suffers
injury, death, or loss as a result partly of
his own negligence and partly as a result of
the fault of an intentional tortfeasor, his
claim for recovery of damages shall not be
reduced.

Article 2324 (A) and (B) provide:

A. He who conspires with another person
to commit an intentional or willful act is
answerable, in solido, with that person, for
the damage caused by such act.

B. If liability is not solidary pursuant to
Paragraph A, then liability for damages
caused by two or more persons shall be a
joint and divisible obligation. A joint
tortfeasor shall not be liable for more than
his degree of fault and shall not be
solidarily liable with any other person for
damages attributable to the fault of such
other person, including the person
suffering injury, death, or loss, regardless
of such other person's insolvency, ability to
pay, degree of fault, immunity by statute or
otherwise, including but not limited to
immunity as provided in R.S. 23:1032, or
that the other person's identity is not
known or reasonably ascertainable.

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Likewise, the language of Article 2324(B) is
equally clear. It provides that in non-intentional
cases, liability for damages caused by two or more
persons shall be a joint and divisible obligation.
Each joint tortfeasor shall not be liable for more
than his degree of fault and shall not be solidarily
liable with any other person for damages
attributable to the fault of that other person. This
provision abolishes solidarity among
non-intentional tortfeasors, and makes each
non-intentional tortfeasor liable only for his own
share of the fault, which must be quantified
pursuant to Article 2323.

Id. (emphasis in original). Addressing the effect of
the 1996 amendments on the right of a tortfeasor to
seek contribution, the court stated:

With the 1996 amendments to Articles 2323 and
2324(B), however, the legislature has effected a
total shift in tort policy. Prior to the enactment of
the amendments, the policy behind Louisiana's tort
law was ensuring that innocent victims received full
compensation for their injuries. Now, however,
Louisiana's policy is that each tortfeasor pays only
for that portion of the damage he has caused and the
tortfeasor shall not be solidarily liable with any
other person for damages attributable to the fault of
that other person. With the advent of this new
policy, the right of contribution among solidary
tortfeasors also disappeared since it is no longer
necessary in light of the abolishment of solidarity.

Id. at 538 (emphasis supplied).

As noted above, Goodworks acknowledges that no
allegation exists in this case that it engaged in an
intentional act such that it would be  solidarily
bound with the United States for decedent's death.
Accordingly, there is no legal basis for Goodworks
claim for contribution from the United States.

Ill. Tort Indemnity
A.
“Generally, a tortfeasor has no right of indemnity

against a cotortfeasor.” Ducre v. Executive Officers
of Halter Marine, Inc., 752 F.2d 976, 984 (5th

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Cir.1985)(citing Appalachian Corp. v. Brooklyn
Cooperage Co., 151 La. 41, 91 So. 539, 541 (1922)
). Louisiana law allows claims for tort indemnity
only when the third-party plaintiffs negligence is
passive or its fault is only technical or theoretical.
Threlkeld v. Haskins Law Firm, 922 F.2d 265, 267
(Sth Cir.1991)(citiations omitted). In 1922, the
Louisiana Supreme Court ruled that when “the
actual fault of the proximate cause of injury is
attributable to one of the parties and the other is
only technically or constructively at fault, from
failure or omission to perform some legal duty ...
indemnity may be had against the one primarily
responsible for the act which caused the damage.”
Appalachian Corp. v. Brooklyn Cooperage Co.,
151 La. 41, 91 So. 539, 541 (1922). In Nassif v.
Sunrise Homes, Inc., 739 So.2d 183 (La.1999), the
Louisiana Supreme Court explained the conceptual
and legal basis for a claim of indemnity:

*6 Indemnity in its most basic sense means
reimbursement, and may lie when one party
discharges a liability which another rightfully
should have assumed. Black's Law Dictionary 769
(6th ed.1990); 42 CLS Indemnity § 2 (1991). It is
based on the principle that everyone is responsible
for his own wrongdoing, and if another person has
been compelled to pay a judgment which ought to
have been paid by the wrongdoer, then the loss
should be shifted to the party whose negligence or
tortious act caused the loss. 42 C.J.S. Indemnity at §
32. The obligation to indemnify may be express, as
in a contractual provision, or may be implied in law,
even in the absence of an indemnity agreement. /d.
at § 29. An implied contract of indemnity arises
only where the liability of the person seeking
indemnification is solely constructive or derivative
and only against one who, because of his act, has
caused such constructive liability to be imposed.
Bewley Furniture Co., Inc. v. Maryland Cas. Co.,
285 So.2d 216, 219 (La.1973). Thus, because the
party seeking indemnification must be without fault,
a weighing of the relative fault of tortfeasors has no
place in the concept of indemnity. /d.

id. at 185. Indemnity shifts the entire loss from a
tortfeasor only technically or constructively at fault
to the party primarily responsible for the damages
whereas contribution, or now comparative fault,
apportions the loss between joint tortfeasors. See

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Green y. TACA Intern. Airlines, 304 So.2d 357, 359
(La.1974); Mayo v. Benson Chevrolet, 717 So.2d
1247, 1249 (LaApp. Sth Cir.1998). Because
indemnity is based upon the concept of unjust
enrichment, an action for tort indemnity arises only
when one held liable vicariously or by reason of
technical fault has been compelled to discharge the
indebtedness of the party that is wholly responsible
for an injury. Nassif, 739 So.2d at 185; Mayo, 717
So.2d at 1248.

The right to indemnity does not exist in favor of a
joint tortfeasor whose act or failure in the
performance of a duty was a contributory cause of
an injury, and there is no right to indemnity when
the liability of the party seeking it cannot be
regarded as technical, vicarious, constructive or
derivative. Nassif/ 739 So.2d at 186, Hamway v.
Braud, 838 So.2d 803, 806 (La.App. Ist Cir.2002).
Because a claim for tort indemnity is based upon
the indemnitee's constructive or technical liability, “
{s]crutiny is thus directed at the nature, not the
quantum, of the fault, if any, of the party seeking
indemnity.” Ducre, 752 F.2d at 984-85.FN!© If the
fault of the party seeking indemnity “can be
characterized as merely technical or constructive,
the action for indemnity may lie.” /d. On the other
hand, if the nature of the fault alleged against the
indemnitee is actual or active fault, an action for
tort indemnity cannot be sustained. See id; see also
Threlkeld, 922 F.2d at 267 (holding that defendant
cannot seek tort indemnity against a third party for
tort immunity when a plaintiff seeks to recover from
a defendant for the latter's affirmative negligence);
Hesse v. Champ Serv. Line, 828 So.2d 687, 692
(La.App. 3d Cir.2002). If the facts alleged by a
plaintiff against the party seeking indemnity do not
show that a defendant's liability could be predicated
upon mere constructive or derivative fault, such
defendant cannot state a cause of action for
indemnity. Threlkeld, 922 F.2d at 267-68 (holding
that a defendant cannot sustain an action for
indemnity when a plaintiff seeks to recover from a
party for its affirmative negligence); Hamway, 838
So.2d at 806 (holding that allegations that
demonstrate direct or primary negligence of a
defendant precluded a tort indemnity claim by such
defendant against other defendants).*N'7 If the
allegations in a third-party complaint for indemnity

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could be read only as charging either concurrent
fault or fault constituting an intervening or
superseding cause of the injured party's damage,
such allegations would not support a claim for
indemnity. See Ducre, 752 F.2d 976 (citing White v.
Johns-Manville Corp., 662 F.2d 243 (4th Cir.1981)

).

FN16. A defendant that could be held to be
at fault is not entitled to indemnity because
“ ‘liability for indemnity exists only when
the party seeking indemnity, the
indemnitee, is free of fault and has
discharged a debt that should be paid
wholly by the indemnitor.” ’ Hesse, 828
So.2d at 692 (La.App. 3d  Cir.2002)
(quoting Klumpp v. XYZ Ins. Co., 547
So.2d 391, 394 (La.App. 3d Cir.1989)).

FN17. In Ducre, the Fifth Circuit
discussed several common forms of
technical or passive fault which the
Louisiana courts have recognized as giving
rise to a claim for tort indemnity. In
Louisiana, the prototypal indemnity action
is the surety's demand for reimbursement
from the primary debtor for funds paid by
the surety to the creditor upon default. 752
F.2d at 984. A second example is in an
action based on vicarious liability when an
employer who has incurred _ liability
pursuant to principles of respondeat
superior has the right of indemnity against
its employee whose fault caused the
plaintiffs damage. See 752 F.2d at 985
(citations omitted). Another common form
of “passive” fault is when the owner of a
building is held liable for a “vice” in the
building which causes injury solely on the
ground that the owner failed to discover
the dangerous condition. /d (citations
omitted); Dusenbery v. McMoRan
Exploration Co, 458 So.2d 102, 105
(La.1984) (noting that a defendant who is
liable on/y as the owner of an unreasonably
dangerous structure may have a claim for
indemnity against the defendant who
actually caused the unreasonably

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dangerous condition for which the owner is
strictly liable). Similarly, when the thing
causing injury is not a building, but a
defective piece of equipment, the owner of
the equipment held liable for causing
injury may recover in indemnity against
the manufacturer whether the manufacturer
is liable in negligence or strict tort. /d.

In contrast, Louisiana courts have held that
when a store owner was, himself, actively
negligent in failing to warn of a danger of
which he knew, the store owner's liability
was not based upon mere custody of a
damaging instrumentality and failure to
discover its defect, but on his own active
negligence committed after he knew of the
defects. Ducre, 752 F.2d at 986
(discussing Hunt v. City Stores, 387 So.2d
585 (La.1980)). Similarly, a seller of an
unreasonably dangerous piece of
equipment does not have a right of
indemnification from a manufacturer when
the seller is at fault in creating defects in
the equipment or in failing to cure easily
remediable defects. Chaudoir v. Porsche
Cars of N. Am., 667 So.2d 569, 574
(La.App. 3d Cir.1996).

*7 Courts have dismissed claims for tort indemnity
when the liability of the would-be indemnitee is not
based upon any theory of vicarious or strict liability
which could compel such party to pay a judgment
based upon another party's fault but the claim is,
instead, based only upon the would-be indemnitee's
active negligent conduct. See Threlkeld, 922 F.2d at
268 (holding that an allegation by a client that an
attorney was affirmatively negligent in permitting a
claim to prescribe could not result in the attorney
being cast in judgment for mere technical or passive
fault); Hesse, 828 So.2d at 691 (affirming dismissal
of premises lessor and lessee's indemnity claim
against a product manufacturer because the fault
alleged against the lessor and lessee was direct and
primary rather than constructive or derivative); see
also Hamway, 838 So.2d at 806 (holding that fault
based upon affirmative conduct contributing to a
plaintiffs injury was actual fault rather than
constructive or derivative fault and such fault
precluded a claim for indemnity); but cf Klumpp,

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547 So.2d at 394-95 (holding that plaintiffs
allegations of affirmative negligence are not
dispositive of a defendant's claim for tort indemnity
when the plaintiff has also alleged a claim for strict
liability against the defendant, thus raising the
possibility that the defendant could be held
technically or vicariously liable for the third-party
defendant's conduct).

In Carter v. Deitz, 505 So.2d 106 (La.App. 4th
Cir.1987), a third-party plaintiff alleged that it was
entitled to indemnity because its negligence, if any,
was only passive in nature as compared to the active
negligence of the third-party defendants. /d. at 108.
The court of appeal stated:

There is no claim against [the third-party plaintiff]
DeLaureal for strict or vicarious liability; indeed,
under the facts of this case, such a claim would be
impossible. Rather, the claim against DeLaureal is
for simple negligence. Any recovery by plaintiff
against DeLaureal will be based upon DeLaureal's
actual negligence, not upon any theoretical or
constructive liability. The question of whether
DeLaureal's negligence, if any, was active or
passive might have some bearing upon the
percentage of fault attributable to DeLaureal, but it
is not relevant to the issue of indemnity. Indemnity
is not available to a party who is actually negligent.
Appalachian Corporation, supra at 541; 109
Dupree v. Pechinay St. Gobain Co., 369 So.2d
1075 (La.App. Ist Cir.1979), writ denied, 371
So.2d 1341 (La.1979); Joiner v. Diamond M.
Drilling Co., 688 F.2d 256 (Sth Cir.1982).

Id. at 108-09.

B.

The plaintiffs allege that the decedent, a minor
child, was operating a forklift at the Defense
Commissary Agency when a component of the
forklift failed causing the forklift to roll over and
kill the decedent. Additionally, the plaintiffs allege
that although OSHA regulations did not permit
decedent to operate a forklift, Goodworks left the
keys in the ignition of an unattended forklift,
thereby creating an “attractive nuisance” to which
the decedent succumbed, ultimately resulting in his

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death.*N!® Plaintiffs allege that Goodworks was
negligent by leaving the keys in the forklift, failing
to adopt minimum safety standards in the
maintenance and operation of the forklifts under
their custody and control, violating OSHA safety
regulations, failing to properly train its employees
in the use of the forklift, failing to instruct its
employees with respect to OSHA safety regulations,
and failing to instruct its employees to never leave
the keys in an unattended forklift.7N'?

FNI8. Carla Lombard Comp., § 2; Tony
Lombard Pet., § Il.

FN19,. Carla Lombard Comp., § 3; Tony
Lombard Pet., { III.

*§ In Goodworks' third-party complaints against the
United States, Goodworks alleges that the United
States was negligent by failing to adopt minimum
safety standards for the operation of forklifts, failing
to train its employees in the proper maintenance and
operation of forklifts, permitting an obvious and
unreasonably dangerous condition to exist, failing
to remedy an obvious and unreasonably dangerous
condition and/or warn of such a condition, and
permitting unsupervised minors onto the premises
of DeCa. Goodworks denies any and all liability to
plaintiffs. Alternatively, Goodworks alleges that if it
is found liable, “in whole or in part,” or if it is held
liable for the fault of the United States, it is entitled
to indemnity from the United States.

The United States argues that due to the adoption of
comparative fault principles, a defendant can no
longer be “passively” negligent in tort and,
therefore, no right of indemnity exists because a
defendant may only be liable for its own negligence.
Moreover, the United States argues that in the
context of this case, Goodworks would not be held
liable for any judgment based upon the fault of the
United States and, therefore, there is no basis for
Goodworks' claim of tort indemnity. In response
thereto, Goodworks maintains that the adoption of
comparative fault principles, while abolishing the
basis for a claim of contribution among joint
tortfeasors, left the doctrine of tort immunity intact.
Goodworks claims that it was acting as an agent of

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the United States and, therefore, its negligence, if
any, is only “passive” while the negligence of the
United States is “active.” Additionally, Goodworks
maintains that because it is a federal contractor
entitled to the government contractor defense, any
liability imposed on Goodworks should be
attributed to the United States.

To the extent that the United States urges the
adoption of a per se rule that Louisiana's adoption
of a pure comparative fault system among joint
tortfeasors abolished the doctrine of tort immunity,
the Court finds that it need not adopt such a broad
rule to resolve this case.*N?° Accepting the facts
alleged in the pleadings as true, the Court agrees
with the United States that in this case there is no
basis for Goodworks' claim of tort immunity and,
therefore, comparative fault principles govern this
case.

FN20. The Court notes that one of its sister
courts has held that the comparative fault
principles in La. Civ.Code arts. 2323 and
2324 do not alone warrant the dismissal of
a claim for tort indemnity. See Campo vy.
John Fayard Fast Freight, Inc., 2003 WL
22229300 (E.D.La. September 26, 2003).

As in Carter, there is no claim against Goodworks
based upon a theory of vicarious or strict liability;
the claim against Goodworks is for simple
negligence. See 505 So.2d at 108. The plaintiffs’
claims against Goodworks are not premised upon
imposing “solely constructive or derivative”
liability on Goodworks. See Nassif, 739 So.2d at
185. Goodworks potential liability is not premised
upon any theory of respondeat superior or strict
liability based upon the mere custody of a
dangerous instrumentality which would expose
Goodworks to legal liability in the absence of actual
fault. See Ducre, 752 F.2d at 985-86. Instead,
plaintiffs seek to hold Goodworks liable for their
own affirmative negligent conduct in failing to
remove the keys from the forklift and, inter alia, its
own failure to properly train its own employees and
its own violation of safety regulations. As in
Threlkeld, “this recovery is not sought on a
technical, constructive, or vicarious theory.” 922

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F.2d at 269. In light of plaintiffs allegations, the
basis for Goodworks’ liability, if any, cannot be
characterized as merely constructive or technical.
Goodworks' liability, if any, would be based upon
its direct and primary negligence and, therefore, in
the event that Goodworks was found liable to
plaintiffs, Goodworks' would not be entitled to tort
immunity because “f{i]ndemnity is not available to a
party who is actually negligent.” Carter, 50S So.2d
at 108.

*9 Goodworks advances the arguments that it is
entitled to bring an indemnity claim because it was
acting as an agent of the United States and because
it is a federal contractor entitled to immunity
pursuant to the federal contractor defense set forth
in Boyle v. United Technologies Corp., 487 U.S.
500, 108 S.Ct. 2510, 101 L.Ed.2d 442 (1988). To
support these arguments, Goodworks submits
extra-pleading documentary evidence and it argues
that discovery is necessary to explore the
relationship between itself and the United States.
The thrust of Goodworks argument is that all of its
liability, if any, was only passive because it was
acting pursuant to instructions of the United States
and, therefore, any liability for negligence should be
borne by the United States.

Neither argument is relevant to Goodworks' claim
for tort indemnity. A principal may become subject
to liability for the tortious conduct of an agent when
the principal has the right to control the physical
details of the agent as to the manner of his
performance. E.g., Rivera v. United Gas Pipeline
Co., 697 So.2d 327, 338 (La.App. 5th Cir.1997). In
such a case, the principal may be held vicariously
liable for the agent's conduct. See id. Goodworks
has not cited any legal authority for the converse
proposition, i¢, that an agent may be held
vicariously liable for the negligent conduct of the
principal. Putting aside that fact that an agency
relationship is nowhere alleged in Goodworks'
third-party complaint, and even assuming arguendo
that Goodworks can establish that it was an agent of
the United States, such a relationship would only
bear on the vicarious liability of the United States,
not the vicarious liability of Goodworks for the
United States' conduct. Accordingly, Goodworks
argument does not establish its right to seek tort

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indemnity. Because Goodworks claimed agency
relationship with the United States does not support
a claim for tort indemnity, the Court need not
consider the evidence submitted by Goodworks in
support of the argument and further discovery, even
if it established such an agency relationship, would
not change the outcome in this case.

Goodworks argument with respect to its status as a
federal contractor is likewise unavailing. “The
government contractor defense, as formulated in
1988 by the Supreme Court in Boyle, generally
immunizes government contractors from civil
liability arising out of the performance of federal
procurement contracts.” Bailey v. McDonnell
Douglas Corp., 989 F.2d 794, 797 (Sth Cir.1993)
(citing Boyle, 487 U.S. at 505-06, 108 S.Ct. at
2515). “The defense stems from the immunity
enjoyed by the United States from claims based on
the performance of so-called ‘discretionary
functions', pursuant to the [FTCA], 28 U.S.C. §
2680(a).” /d at 797-98. “The primary purpose
behind the formulation of the government
contractor defense was to ‘prevent the contractor
from being held liable when the government is
actually at fault ..” ° Mitchell y. Lone Star
Ammunition, Inc., 913 F.2d 242, 245 & n. 5 (Sth
Cir.1990)(quoting Trevino v. General Dynamics
Corp.,, 865 F.2d 1474, 1478 (Sth Cir.1989)).
However, the protective shield in favor of the
contractor collapses when the actions of the
government contractor-and not those of the
Government-produce the damaging condition. See
id. at 245-46. In such a situation, fairness dictates
that a government contractor should not be
permitted to escape liability by asserting the
sovereign immunity of the Government. /d. at 246.

*10 Assuming arguendo that the federal contractor
defense would be available to Goodworks, the
establishment of the defense would simply mean
that Goodworks would be immune from civil
liability arising out of the United States' conduct. In
such a case, it cannot be said that Goodworks could
be compelled to pay a judgment to plaintiffs that
should have rightly been paid by the federal
government. As noted in Mitchell, the government
contractor defense prevents liability from being
imposed on a government contractor when the

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United States is at fault. Absent some legal basis
upon which to hold Goodworks liable for the fault
of the United States, “[t]he question of whether
[Goodworks'] negligence, if any, was active or
passive might have some bearing upon the
percentage of fault attributable to [Goodworks], but
it is not relevant to the issue of indemnity.” /d.F?!

FN21. The Court emphasizes that by
addressing Goodworks' arguments with
respect to agent and federal contractor
statuses, the Court does not make any
implicit ruling on the actual merits of these
arguments. Rather, the Court — only
addresses the arguments to demonstrate the
immateriality of Goodworks' status on its
claim for tort indemnity.

Moreover, taking the allegations in the third-party
complaint as true and construing the third-party
complaint in favor of Goodworks, the allegations in
Goodworks' third-party complaint do not support a
claim for tort indemnity. The allegations in the third
party complaint merely allege a negligence claim
against the United States and can only be read as (1)
a complete denial of its own negligence; (2) a claim
that the United States' is concurrently at fault; or (3)
an argument that the alleged negligence of the
United States is a superseding or primary cause of
the decedent's death. To the extent that Goodworks
completely denies liability or seeks to claim that the
negligence is a superseding cause of decedent's
death, such allegations simply constitute defenses to
liability and ‘‘negate[ ] the fundamental predicate of
the indemnity claim, namely, the establishment of
liability, in the first instance, against the would-be
indemnitee.” Ducre, 752 F.2d at 987 (citing White,
662 F.2d at 250). Additionally, Goodworks'
allegation of its potential concurrent negligence also
precludes a claim for tort indemnity because the
right to indemnity does not exist in favor of a joint
tortfeasor whose act or failure was a contributory
cause of an injury. See Nassif, 739 So.2d at 186.
Furthermore, Goodworks' suggestion that it could
be held liable for the fault of the United States is
without any legal or factual foundation in the
pleadings because, as noted above, Goodworks'
liability is not based upon any theory of

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constructive, technical or vicarious fault and,
therefore, Goodworks would not be answerable to
plaintiffs in damages for the fault of the United
States.

Absent a_ valid claim for tort indemnity,
comparative fault principles apply in this case.
Pursuant to those principles, “the degree or
percentage of fault of all persons causing or
contributing to the injury, death, or loss shall be
determined, regardless of whether the person is a
party to the action or a nonparty, and regardless of
the person's insolvency, ability to pay, [or]
immunity by statute...” La. Civ.Code 2323. “[E]ach
tortfeasor pays only for that portion of the damage
he has caused and the tortfeasor shall not be
solidarily liable with any other person for damages
attributable to the fault of that other person.”
Dumas, 828 So.2d at 538. Given the applicability of
Louisiana's pure comparative fault system to the
claims in these consolidated actions, “[t]here is no
foreseeable combination of findings, viewing the
allegations of the pleadings ... in the light most
favorable to [Goodworks] that could result in
[Goodworks] being cast in judgment for mere
technical or passive fault” for purposes of asserting
a tort indemnity claim against the United States. See
752 F.2d at 985; see also Threlkeld, 922 F.2d at

267-685 N22

FN22. Plaintiff, Tony Lombard, has also
filed a memorandum with respect to the
United States' motion to dismiss in which
he argues that discovery should be
permitted in this action based upon his
speculation that discovery may change the
claims plead in this case. The Court
declines to engage in speculation as to
what discovery may or may not reveal in
this case. As plaintiff concedes, his
arguments are based upon claims not
alleged in this case. Accordingly, it is
unnecessary to address the arguments
raised in his memorandum submitted in
connection with the United States’ motion
to dismiss.

IV. This Action is Remanded to State Court

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pursuant to the Agreement of the Parties END OF DOCUMENT

*11 28 U.S.C. § 1367(c) provides that a district
court “may decline to exercise supplemental
jurisdiction over a claim ... if ... the district court
has dismissed all claims over which it has original
jurisdiction.” § 1367(c) & (c)(3). With respect to
the Carla Lombard action, original jurisdiction was
predicated on the existence of plaintiffs FTCA
claims against the United States as well as
Goodworks' third-party complaint filed in
connection with that action. With respect to the
Tony Lombard action, original jurisdiction was
predicated upon Goodworks' third-party demand
against the United States. The parties agreed that
should this Court dismiss Goodworks' third-party
claims against the United States, remand of these
actions would be appropriate.

Accordingly, and for the above and foregoing
reasons,

IT IS ORDERED that the motion filed on behalf of
third-party defendant, the United States of America,
to dismiss the third-party complaints filed against it
by third-party plaintiffs, Goodworks, Inc. and
Transcontinental Insurance Company, is
GRANTED and the third-party claims against the
United States in these consolidated actions are
DISMISSED.

IT IS FURTHER ORDERED that Carla Lombard
v. New Orleans Naval Support Activity Commissary,
Civil Action No. 03-3020, is hereby REMANDED
to the Orleans Parish Civil District Court.

IT IS FURTHER ORDERED that Tony A. Lombard
vy. Goodworks, Inc., et al, Civil Action No. 04-2296,
is hereby REMANDED to the Orleans Parish Civil
District Court.

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Briefs and Other Related Documents (Back to top)

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